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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES − GENERAL

 CASE NO.: 2:20−cv−06013−VAP−MAA                                        DATE: October 19, 2020

 TITLE:          Colton Bryant v. Citibank National Association et al

 Present: The Honorable: VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE
                 Christine Chung                                    N/A
                  Deputy Clerk                                 Court Reporter
 ATTORNEYS PRESENT FOR PLAINTIFFS:               ATTORNEYS PRESENT FOR DEFENDANTS:

                   Not Present                                     Not Present

 Proceedings:       ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK OF
                       PROSECUTION (IN CHAMBERS)

     Plaintiff is hereby ordered to show cause in writing by not later than October 27, 2020
 why this action should not be dismissed for lack of prosecution.
      The Court will consider the filing of the following as an appropriate response to this
 Order to Show Cause, on or before the above date:
            • Proof of service of summons and complaint
      In accordance with Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15,
 no oral argument of this matter will be heard unless ordered by the court. The Order will stand
 submitted upon the filing of the response to the Order to Show Cause. Failure to timely
 respond to the Court's Order will result in the dismissal of the action.
       IT IS SO ORDERED.




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                                                                         Initials of Preparer cch


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